EXHIBIT A




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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


Civil Action No. _________________________________

LISA R. DISSINGER,

        Plaintiff,

v.

FRONTLINE ASSET STRATEGIES, LLC,

     Defendants.
_______________________________________/

                         FIRST AMENDED COMPLAINT

        NOW COMES Lisa R. Dissinger (“Plaintiff”), by and through the

undersigned attorneys, complaining of the Defendant, Frontline Asset Strategies,

LLC, (“Defendant”) as follows:

                               NATURE OF THE ACTION

     1. Plaintiff brings this action seeking redress for Defendant’s violations of the

Fair Debt Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692 and the

Florida Consumer Collection Practices Act (“FCCPA”), Fla. Stat. §559.55 et. seq.




                                           2
                              JURISDICTION AND VENUE

   2. Subject matter jurisdiction is conferred upon this Court by the FDCPA and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides

in the Middle District of Florida, Defendant conducts business in the Middle District

of Florida, and a substantial portion of the events or omissions giving rise to the

claims occurred within the Middle District of Florida.

                                       PARTIES

   4. Plaintiff is a consumer and natural person over 18-years-of-age who, at all

times relevant, resided in the Middle District of Florida.

   5. Defendant is a debt collection agency with its principal place of business

located at 2700 Snelling Ave. North Suite 250 Roseville, Minnesota. Defendant

engages in collection activities in the state of Florida.

   6. Defendant is a collection agency with the primary business purpose of

collecting or attempting to collect defaulted consumer debts owed or allegedly owed

to others. Defendant is engaged in the business of collecting or attempting to collect,

directly or indirectly, defaulted debts owed or due or asserted to be owed or due to

others using the mail and/or telephone, including consumers in the State of Florida.




                                            3
                      FACTS SUPPORTING CAUSE OF ACTION

   7. Prior to the conduct giving rise to this cause of action, Plaintiff obtained a

consumer debt (“subject debt”).

   8. Due to financial hardship, Plaintiff was unable to pay, and thus defaulted on

the subject debt.

   9. Subsequently thereafter, Defendant acquired the rights to collect upon the

defaulted subject debt.

   10.In August 2021, Defendant began placing collection calls to Plaintiff’s

spouse, Eric Dissinger (“Eric”), cellular phone number, attempting to collect upon

the subject debt.

   11.In addition, Defendant began calling Eric’s place of employment, Moto Tow.

   12.Plaintiff never gave Defendant permission to contact her spouse regarding the

subject debt.

   13.In addition, Plaintiff never gave Defendant permission to contact Eric’s place

of employment.

   14.Likewise, Eric was not a signatory to the subject debt and never provided his

cellular and/or employers phone number to Defendant.

   15.On August 2, 2021, Defendant placed an unsolicited call to Eric’s cellular

phone. Confused, Eric inquired as to who was calling him. Immediately, the call was

disconnected.


                                         4
   16.Eric called the Defendant back to inquire as to why the call was placed.

Defendant’s representative stated that their call was regarding Plaintiff, they were a

debt collector, and that they were a collecting on a debt owed by Plaintiff.

   17.Following the phone call, Eric’s employer was also called by Defendant.

Defendant informed Eric’s employer that call was regarding Plaintiff and

communicated to Eric’s employer that it was a debt collector, attempting to collect

a debt, and any information would be used for that purpose.

   18.Eric’s employer explained to Defendant that Lisa has never worked for Motor

Tow and this was not a correct number to reach her.

   19.Before the August 2, 2021 phone call, Defendant had contacted Eric’s

employer at least one time prior.

   20.Shocked after Eric’s employer informed him of Defendants call, Eric

contacted Defendant to inform them of their inappropriate actions regarding the

unsolicited call and requested that they cease all calls.

   21.Upon discovering the actions made by Defendant, Plaintiff was embarrassed

and humiliated that personal and confidential information was disclosed to third

parties without her consent.

                                        DAMAGES

   22.Defendant’s harassing and unfair collection conduct has severely disrupted

Plaintiff’s daily life and general well-being.


                                           5
   23.Defendant’s illegal collection activities have caused Plaintiff actual harm,

including but not limited to, invasion of privacy, nuisance, marriage turmoil,

embarrassment, harassment, humiliation, emotional distress, anxiety, and loss of

concentration.

   24.Concerned about the violations of her rights and invasion of her privacy,

Plaintiff sought the assistance of counsel to permanently cease Defendant’s

collection efforts.

      COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        (VIOLATION OF FDCPA §1692b)

   25.Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   26.The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out

of a transaction due or asserted to be owed or due to another for personal, family, or

household purposes.

   27.Defendant is a “debt collector” as defined by §1692a(6) because it’s a

business, the principal purpose of which, is the collection of defaulted debts and uses

the mail and/or the telephones to collect delinquent accounts allegedly owed to a

third party.

   28.Moreover, Defendant is a “debt collector” because it acquired rights to the

subject debt after it was in default. 15 U.S.C. §1692a(6).

   29.Defendant used the phone to attempt to collect the subject debt and, as such,

engaged in “communications” as defined in FDCPA §1692a(2).
                                          6
   30.Defendant’s communications to Plaintiff’s spouse and his employer were

made in connection with the collection of the subject debt.

   31.Defendant violated 15 U.S.C. §§1692b(2), b(3), c(b), d, e, and f through its

unlawful debt collection practices.

   32.The FDCPA, pursuant to 15 U.S.C. §1692b(2), prohibits a debt collector from

contacting a third party and stating that a consumer owes any debt.

   33.Defendant violated §1692b(2) when it called Plaintiff’s spouse and his

employer and disclosed confidential information about the subject debt.

   34.Furthermore, Defendant violated §1692b(3) when it contacted Plaintiff’s

spouse multiple times. These calls were made with the intent to humiliate Plaintiff

in hopes that she would succumb to the harassment and make an immediate payment

on the subject debt.

   COUNT II – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692c)

   35.§1692c of the FDCPA states:

     (b)Communication with third parties
     Except as provided in section 1692b of this title, without the prior consent
     of the consumer given directly to the debt collector, or the express
     permission of a court of competent jurisdiction, or as reasonably necessary
     to effectuate a post judgment judicial remedy, a debt collector may not
     communicate, in connection with the collection of any debt, with any
     person other than the consumer, his attorney, a consumer reporting
     agency if otherwise permitted by law, the creditor, the attorney of
     the creditor, or the attorney of the debt collector.



                                          7
   36.Defendant violated §1692c(b) when it contacted Plaintiff’s spouse and his

employer in regards to the subject debt that was owed by Plaintiff.

   37.Specifically, Defendant contacted third parties without Plaintiff’s consent.

   COUNT III – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                      (VIOLATION OF FDCPA §1692d)

   38.The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from

engaging “in any conduct the natural consequence of which is to harass, oppress, or

abuse any person in connection with the collection of a debt.”

   39.Defendant violated §1692d when it called Plaintiff’s spouses place of

employment and disclosed a debt was being collected for Plaintiff’s outstanding

subject debt. Defendant was simply trying to humiliate and harass Plaintiff into

paying the subject debt immediately.

   COUNT IV – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692e)

   40.Defendant violated §1692e by using false, deceptive, and misleading

representation in connection with the collection of the subject debt. It was deceptive

and misleading for Defendant to misleadingly request, by reading the Mini Miranda,

that Plaintiff’s spouse and his employer to make a payment on Plaintiff’s behalf

despite never consenting to being called nor being a signatory to any agreements

with Defendant or its predecessors.




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   COUNT V – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692f)

   41.Defendant violated §1692f and f(1) by using and unconscionable means in

attempting to collect on the subject debt.

   42.Specifically, Defendant contacted a third party and disclosed private and

inaccurate information about Plaintiff’s debt. Defendant’s unconscionable conduct

was employed in order to humiliate Plaintiff so she would make an immediate

payment on the subject debt.

   43.As an experienced debt collector, Defendant knew or should have known the

ramifications of collecting on a debt through incessant deceptive means.

WHEREFORE, Plaintiff LISA R. DISSINGER respectfully requests that this

Honorable Court:


   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned bodies of law;

   b. Enjoining Defendant from further contacting Plaintiff’s spouse and his
      employer.

   c. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
      U.S.C. §1692k(a)(2)(A);

   d. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
      provided under 15 U.S.C. §1692k(a)(1);

   e. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
      U.S.C. §1692k(a)(3); and



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   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.

        COUNT VI – VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION
                            PRACTICES ACT

   43. At all times relevant to this Complaint, Plaintiff, was and is a natural person,

and is a “consumer” as that term is defined by Florida Statutes § 559.55(8).

   44. At all times relevant to this action Defendant is subject to and must abide by

the laws of the State of Florida, including Florida Statute § 559.72.

   45. At all times relevant to this Complaint, Defendant was and is a “person” as

said term is defined under Florida Statute §1.01(3) and is subject to the provision of

Fla. Stat. § 559.27 because said section applies to “any person” who collects or

attempts to collect a consumer debt as defined in Fla. Stat. §559.72 because said

provision applies to “any person” who collects or attempts to collect a consumer

debt as defined in Fla. Stat. § 559.51(1).

   46. At all times material hereto, the debt in question was a “consumer debt” as

said term is defined under Florida Statute § 559.55(6).

   47. Defendant violated section 559.72(7) of the FCCPA through its unlawful

conduct.

      a. Violations of the FCCPA § 559.72(7)

   48. A person violates section 559.72(7) of the FCCPA when it willfully

communicates with the debtor with such frequency as can reasonably be expected to


                                             10
harass the debtor, or willfully engage in other conduct, which can reasonably be

expected to abuse or harass the debtor.

   49. Defendant violated section 559.72(7) of the FCCPA when it placed harassing

telephone calls to Plaintiff souse and his place of employment and disclosed

confidential information regarding Plaintiff’s subject debt.

WHEREFORE, Plaintiff LISA R. DISSINGER respectfully requests that this

Honorable Court:

   a. Enter judgment in Plaintiff’s favor and against Defendant;

   b. Award Plaintiff actual damages in an amount to be determined at trial pursuant
      to the Florida Consumer Collection Practices Act, Fla. Stat. §559.77;

   c. Award Plaintiff statutory damages of $1,000.00 pursuant to the Florida
      Consumer Collection Practices Act, Fla. Stat. §559.77;

   d. Award Plaintiff and equitable relief, including enjoining Defendants from
      further violations, pursuant to Florida Consumer Collection Practices Act, Fla.
      Stat. §559.77(2);

   e. Award Plaintiff costs and reasonable attorneys’ fees pursuant to the Florida
      Consumer Collection Practices Act, Fla. Stat. §559.77; and

   f. Award any other relief this Honorable Court deems equitable and just.

                         DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.




                                          11
Dated: July 14, 2022        Respectfully Submitted,

                            /s/ Alexander J. Taylor
                            Alexander J. Taylor, Esq.
                            Counsel for Plaintiff
                            Sulaiman Law Group, Ltd
                            2500 S Highland Ave, Suite 200
                            Lombard, IL 60148
                            Telephone: (630) 575-8181
                            ataylor@sulaimanlaw.com




                       12
